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                                   2024–1342
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           United States Court of Appeals
               for the Federal Circuit
______________________________________________________________________________

                      MAGĒMĀ TECHNOLOGY LLC,
                               Plaintiff–Appellant
                                        v.
        PHILLIPS 66, PHILLIPS 66 CO., and WRB REFINING LP,
                              Defendants–Appellees
______________________________________________________________________________

  Appeal from the United States District Court for the Southern District of Texas
                 in Case No. 4:20–CV–02444, Judge Sim Lake
______________________________________________________________________________

     APPELLANT MAGĒMĀ TECHNOLOGY LLC’S MOTION TO
       EXTEND TIME TO FILE APPELLANT’S REPLY BRIEF



John R. Keville                                                 Miranda Jones
Robert L. Green                                                  Jamie McDole
SHEPPARD, MULLIN,                                           Michael D. Karson
RICHTER & HAMPTON, LLP                                         WINSTEAD PC
700 Louisiana St.,                                        2728 N. Harwood St.
Suite 2750                                                            Suite 500
Houston, Texas 77002                                       Dallas, Texas 75201
Tel.: (713) 431–7117                                      Tel.: (214) 745–5400
Fax: (713) 431–7024                                       Fax: (214) 745–5390

May 31, 2024                                 Attorneys for Plaintiff–Appellant




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                     CERTIFICATE OF INTEREST

     Pursuant to Federal Circuit Rule 47.4(a)(1), counsel for the

Plaintiff-Appellant Magēmā Technology LLC certifies the following:

     1.     The full name of every party of amicus represented by me is:

     Magēmā Technology LLC

     2.     The name of the real party in interest (if the party named in

the caption is not the real party in interest) represented by me:

     None

     3.     All parent corporations and any publicly held companies that

own 10 percent or more of the stock of the party or amicus curiae

represented by me are:

     None

     4.     The names of all law firms and the partners or associates that

have appeared for the party in the district court and who are not already

listed on the docket for the current case are:

     WINSTEAD PC
     Miranda Y. Jones
     Jamie H. McDole
     Michael D. Karson

     SHEPPARD, MULLIN, RICHTER & HAMPTON, LLP
     John R. Keville
     Robert L. Green


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Dated: May 31, 2024                    /s/ Miranda Y. Jones
                                       Miranda Y. Jones
                                       Jamie H. McDole
                                       Michael D. Karson
                                       WINSTEAD PC
                                       2728 N. Harwood St., Suite 500
                                       Dallas, Texas 75201
                                       Tel.: (214) 745–5400
                                       Fax: (214) 745–5390

                                       John R. Keville
                                       Robert L. Green
                                       SHEPPARD, MULLIN,
                                       RICHTER &
                                       HAMPTON, LLP
                                       700 Louisiana St., Suite 2750
                                       Houston, Texas 77002
                                       Telephone: (713) 431–7117
                                       Facsimile: (713) 431–7024

                                       Attorneys for Plaintiff–Appellant
                                       Magēmā Technology LLC




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     Appellant Magēmā Technology LLC respectfully requests that this

Court extend the time to file Appellant’s Reply Brief pursuant to Federal

Circuit Rule 26(b). In support of its request, Appellant states as follows:

     1.    Appellant filed its Opening Brief on March 11, 2024.

     2.    Appellees filed a Motion to Extend Time to File Appellees’

Responsive Brief on March 14, 2024, which this Court granted, making

their Response Brief due no later than May 22, 2024.

     3.    Appellees filed their Response Brief on May 22, 2024.

     4.    Appellant’s Reply Brief is currently due on June 12, 2024.

     5.    Appellant requests a 10-day extension, resulting in a revised

due date of June 22, 2024.

     6.    Appellant has not previously requested any extension in this

case, and no party will be prejudiced by the granting of this motion.

     7.    This request is made for good cause and not for the purpose of

delay. Good cause exists for this extension because lead counsel for

Appellant experienced a medical emergency on May 27, 2024, resulting

in the need to undergo emergency surgery, from which lead counsel is

still recovering. This recovery period has taken and will continue to take

up a significant portion of Appellant’s default briefing period.



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     8.    Counsel for Appellant notified counsel for Appellees that it

will seek an extension. Appellees stated that they are not opposed to the

requested extension.

     9.    For the foregoing reasons, Appellant respectfully requests

that this Court grant this motion and extend the deadline for Appellant

to file its Reply Brief from June 12, 2024, to June 21, 2024.

Dated: May 31, 2024                      Respectfully submitted,

                                         /s/ Miranda Y. Jones
                                         Miranda Y. Jones
                                         Jamie H. McDole
                                         Michael D. Karson
                                         WINSTEAD PC
                                         2728 N. Harwood St., Suite 500
                                         Dallas, Texas 75201
                                         Tel.: (214) 745–5400
                                         Fax: (214) 745–5390

                                         John R. Keville
                                         Robert L. Green
                                         SHEPPARD, MULLIN,
                                         RICHTER &
                                         HAMPTON, LLP
                                         700 Louisiana St., Suite 2750
                                         Houston, Texas 77002
                                         Telephone: (713) 431–7117
                                         Facsimile: (713) 431–7024

                                         Attorneys for Plaintiff–Appellant
                                         Magēmā Technology LLC




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                      CERTIFICATE OF COMPLIANCE

         In accordance with Federal Rule of Appellate Procedure 32(a)(7),

the undersigned certifies that this Motion for an Extension of Time to

File Appellant’s Reply Brief complies with the applicable type–volume

limitations. This document contains [260] words. This certificate was

prepared in reliance on the word count of the word–processing system

(Microsoft Office Word LTSC Professional Plus 2021) used to prepare this

brief.

May 31, 2024                                Respectfully submitted,

                                            /s/ Miranda Y. Jones
                                            Miranda Y. Jones

                                            Attorney for Plaintiff–Appellant
                                            Magēmā Technology LLC




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